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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION


 In re                                                 Chapter 11

 KRISU HOSPITALITY, LLC,                               Case No.: 19-20347 RLJ

                    Debtor.



         NOTICE OF APPEARANCE AND DEMAND FOR SERVICE OF PAPERS

         PLEASE TAKE NOTICE that, pursuant to Section 1109(b) of Title 11 of the United

States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”) and Rules 2002 and 9010(b) of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), K&L Gates LLP hereby

enters its appearance on behalf of La Quinta Franchising LLC and requests that all notices given

or required to be given and all papers served in this case be delivered to and served upon the party

identified below at the following address:

                                    Daniel M. Eliades, Esq.
                                    David S. Catuogno, Esq.
                                       K&L GATES LLP
                                One Newark Center, Tenth Floor
                                   1085 Raymond Boulevard
                                  Newark, New Jersey 07102
                                  Telephone: (973) 848-4000
                                  Facsimile: (973) 848-4001
                               Email: daniel.eliades@klgates.com
                                 David.catuogno@klgates.com

         PLEASE TAKE FURTHER NOTICE that pursuant to Section 1109(b) of the

Bankruptcy Code, the foregoing demand not only includes notices and papers referred to in the

above-mentioned Bankruptcy Rules, but also includes, without limitation, all notices, orders,

pleadings, motions, applications, complaints, demands, hearings, request, answers, replies,
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memoranda and briefs in support of any of the above, whether formal or informal, transmitted or

conveyed by electronic delivery, mail delivery, telephone, facsimile or otherwise, in this case.

       PLEASE TAKE FURTHER NOTICE that this notice of appearance, and any subsequent

appearance, pleading, claim, or suit, is not intended, nor shall be deemed, to waive La Quinta

Franchising LLC’s: (i) right to contest the subject matter or personal jurisdiction of this Court; (ii)

right to seek abstention or withdrawal of any matter arising in this proceeding; (iii) right to have

final orders in non-core matters entered only after de novo review by a United States District Court

Judge; (iv) right to trial by jury in any proceeding so triable herein or in any case, controversy or

proceeding related hereto; (v) right to have the reference withdrawn by a United States District

Court Judge in any matter subject to mandatory or discretionary withdrawal; (vi) right to enforce

any contractual provisions with respect to arbitration; or (vii) other rights, claims, actions,

defenses, setoffs or recoupments to which La Quinta Franchising LLC is or may be entitled under

agreements, in law, or in equity, all of which rights, claims, actions, defenses, setoffs, and

recoupments expressly are hereby reserved.

       PLEASE TAKE FURTHER NOTICE that this appearance is a limited appearance for

purposes of notice only. Accordingly, this Notice of Appearance is not to be construed as a waiver

of any rights, including, without limitation, the right to contest jurisdiction or service of process

or to demand trial by jury of any issue.




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Dated: November 8, 2019               K&L Gates LLP


                                          /s/ Daniel M. Eliades
                                      Daniel M. Eliades, Esq.
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                                      Attorneys for La Quinta Franchising LLC




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                                 CERTIFICATE OF SERVICE

        I certify that on November 8, 2019, I caused the attached Notice of Appearance and

Demand for Service of Papers to be electronically filed with the Clerk, United States Bankruptcy

Court, Northern District of Texas, by ECF and one copy of the aforementioned document by way

of first class mail or ECF to those persons listed on the attached service list.

         I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements made by me is willfully false, I am subject to punishment.

Dated: November 8, 2019
                                                  By: /s/ Daniel M. Eliades
                                                      Daniel M. Eliades, Esq.
                                                      daniel.eliades@klgates.com




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                                     SERVICE LIST

Debtor
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United States Trustee
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Dallas, TX 75202
Via ECF




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